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                                            EXHIBIT
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Richard J. Capriola, Esq.                                                                    Winter Capriola Zenner, LLC
dir tel 404.844.5637                                                                         One Securities Centre
rcapriola@wczlaw.com                                                                         3490 Piedmont Road NE
                                                                                             Suite 800
                                                                                             Atlanta, Georgia 30305
                                                                                             tel 404.844.5700
                                                                                             fax 404.844.5701
                                                                                             wczlaw.com




     June 24, 2022

      VIA EMAIL hknapp@khlawfirm.com

      Halsey G. Knapp, Jr., Esq.
      Krevolin & Horst, LLC
      One Atlanta Center
      1201 West Peachtree Street, NW
      Suite 3250
      Atlanta, GA 30309

                Re:         Donna Curling, et al. v. Brad Raffensperger, et al., United States District Court,
                            Northern District of Georgia, Civil Action File No. 1:17-CV-2989-AT

     Dear Halsey:

             I am following up on my voicemail message to you earlier this week. I represent Paul
     Maggio and am in receipt of two Subpoenas you served in the above-referenced lawsuit. As I
     mentioned in my voicemail, I am on vacation the week of June 27th returning to the office on July
     5th, and request that the deadline for Mr. Maggio to respond to the Subpoena to Produce Documents
     be extended up to and through July 8, 2022.

                Please let me know if you consent to this extension at your earliest convenience.

                                                         Sincerely,

                                                         /s/ Richard J. Capriola

                                                         Richard J. Capriola

     RJC/jw
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                                       EXHIBIT B



From:                     Halsey G. Knapp, Jr.
To:                       Joanie J. Williams; Adam M. Sparks; David Cross (dcross@mofo.com)
Cc:                       Richard J. Capriola; Kaiser, Mary
Subject:                  RE: Donna Curling, et al. v. Brad Raffensperger, et al./Letter from Richard J. Capriola, Esq.
Date:                     Tuesday, June 28, 2022 7:02:28 PM
Attachments:              image002.png
                          image004.gif
                          image001.png




      CAUTION: This email originated from outside the organization. Do not click links or open attachments unless
      you recognize the sender and know the content is safe.

Richard,

I am able to grant your client a two-day extension Mr. Maggio intends to respond to the request by providing
responsive documents. However, if his intention is simply to file a motion to quash, we would prefer not to
delay that process, and I am not in a position to extend unless there is some personal hardship you or Mr.
Maggio would suffer in the absence of an extension.

Please advise.



Halsey G. Knapp, Jr.
Crisis Management/Voting & Elections
Business Disputes

Tel: 404-888-9611
Email: hknapp@khlawfirm.com

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From: Joanie J. Williams <jwilliams@wczlaw.com>
Sent: Friday, June 24, 2022 9:30 AM
To: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>
Cc: Richard J. Capriola <rcapriola@wczlaw.com>
Subject: Donna Curling, et al. v. Brad Raffensperger, et al./Letter from Richard J. Capriola, Esq.
           Case 1:17-cv-02989-AT Document 1432-1 Filed 07/26/22 Page 7 of 7



Please see the attached correspondence from Richard J. Capriola, Esq.

Thank you.




Joanie Williams                           Winter Capriola Zenner, LLC                                                       tel        404.844.5700
Legal Assistant to                        One Ameris Center                                                                 dir tel    404.844.5679
Richard J. Capriola, Esq.                 3490 Piedmont Road NE, Suite 800                                                  fax        404.844.5701
Eric B. Coleman, Esq.                     Atlanta, GA 30305
Kamyar Molavi, Esq.                       www.wczlaw.com
                                          jwilliams@wczlaw.com

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information obtained will be used for that purpose
